                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE

   UNITED STATES OF AMERICA
                                                           Case No. 3:20-MJ-   loi<K
              V.

   DOMINIC BROWN



                      AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

         I, Mollie G. Treadway, being duly sworn, do depose and state as follows:

                         INTRODUCTION AND AGENT BACKGROUND

          1.       I am a Special Agent with the Federal Bureau of Investigation ("FBI") and have

  been so employed since 2009. I currently work in the Knoxville Field Office of the FBI and am

  assigned to the Joint Terrorism Task Force. During my tenure as an FBI Special Agent, I have

  investigated numerous crimes including, but not limited to, gangs and organized crimes,

  weapons violations, narcotics trafficking, money laundering, kidnapping and fugitive

  investigations. I have received training and have gained experience in interview and

  interrogation techniques, as well as debriefing witnesses, informants and others who may have

  knowledge of criminal activities. Additionally, I have received training and have gained

  experience in arrest procedures, search warrant applications, the execution of searches, electronic

  surveillance, and various other criminal laws and procedures.

         2.        This affidavit is submitted in support of a criminal complaint against Dominic

  BROWN, charging him with violating 18 U.S.C. § 2101 (Riots) and 18 U.S.C. § 231 (a)(3)

  (Civil Disorder).

         3.        Title 18, United States Code, Section 2101 provides in relevant part:"[w]hoever

  travels in interstate or foreign commerce or uses any facility of interstate or foreign commerce"




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  with the intent to (1) incite a riot, (2) organize, promote, encourage, participate in, or carry on a

  riot; (3) commit any act of violence in furtherance of a riot; or (4) aid or abet any person in

  inciting or participating in or carrying on a riot or committing any act of violence of violence in

  furtherance of a riot; "and who either during the course of any such travel or use or thereafter

  performs or attempts to perform any other overt act for any purpose" enumerated above has

  committed a federal crime.

         4.      Section 2102(a) defines the tenn "riot" to mean the following:

         a public disturbance involving (1) an act or acts of violence by one or more
         persons part of an assemblage of three or more persons, which act or acts shall
         constitute a clear and present danger of, or shall result in, damage or injury to the
         prope1iy of any other person or to the person of any other individual or

         (2) a threat or threats of the commission of an act or acts of violence by one or
         more persons part of an assemblage of three or more persons having, individually
         or collectively, the ability to immediate execution of such threat or threats, where
         the performance of the threatened act or acts of violence would constitute a clear
         and present danger of, or would result in, damage or injury to the property of any
         other person or to the person of any other individual.

         5.      Section 2 I 02(b) provides the following:

         the term 'to incite a riot', or 'to organize, promote, encourage, participate in, or
         carry on a riot', includes, but is not limited to, urging or instigating other persons
         to riot, but shall not be deemed to mean the mere oral or written (1) advocacy of
         ideas or (2) expression of belief, not involving advocacy of any act or acts of
         violence or assertion of the rightness of, or the right to commit, any such act or
         acts.

         6.      Title I 8, United States Code, Section 231 (a)(3) provides in relevant part:

  "[w]hoever commits or attempts to commit any act to obstruct, impede, or interfere with any ...

  law enforcement officer lawfully engaged in the lawful performance of his official duties ...

  during the commission of a civil disorder which in any way or degree obstructs, delays, or

  adversely affects commerce ..." has committed a federal crime. The term "civil disorder" means

 "any public disturbance involving acts of violence by assemblages of three or more persons,


                                                    2



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  which causes an immediate danger of or results in damage or injury to the property or person of

  any other individual."

         7.      I am familiar with the facts and circumstances in this affidavit as a result of my

  personal participation in this investigation as well as my review of official reports and records

  and conversations with other law enforcement officers described below. Because this affidavit is

  being submitted for the limited purpose of supporting probable cause, I have not included each

  and every fact known to me concerning this investigation.

                                        PROBABLE CAUSE

         8.      On May 25, 2020, George Floyd died while in the custody of the Minneapolis

  Police Department. The nature and circumstances of Mr. Floyd's arrest, subsequent death, and

  the actions of the Minneapolis Police Department came under intense public scrutiny. Following

  Mr. Floyd's death, public protests began in Minneapolis and expanded throughout the country

  including in Knoxville, Tennessee. In some instances, these public protests have become violent

  resulting in the destruction of property, serious bodily injury, and even death.

         9.      I have reviewed images of posts made on Snapchat, 1 a social media application,

  by an account bearing the username "bred" (hereinafter "Snapchat Account"). I believe that this

  Snapchat Account is operated by Dominic BROWN, a resident of Heiskell, Tennessee. 2




  1
    Snapchat is a multimedia messaging application that is typically accessed by downloading the
  Snapchat application onto a mobile device such as a mobile telephone. In order to send and
  receive content on Snapchat, a user typically must be connected to the internet or to a cellular
  telephone service.
  2
    I have reviewed a video posted on the Snapchat Account that depicts BROWN discussing some
  of the events described herein, including his arrest on May 31, 2020. During the video, BROWN
  also showed the booking photo of him taken by law enforcement officers in connection with his
  May 31, 2020 arrest.

                                                   3


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          10.    On or about May 30, 2020, BROWN made several posts on his Snapchat Account

  which were intended to incite and organize a riot at the West Town Mall located in Knoxville,

  Tennessee.

                 a.      In one such post, BROWN stated "we are not each other's enemy only

         enemy is 12 [middle finger emoji]." 3 I know from training and experience that the

         reference to the number "12" in this context is a slang term directed towards law

         enforcement officers. In this post, BROWN provided the street address of a Target store

         that is located in close proximity to the West Town Mall.

                 b.      In another post, BROWN stated the following in connection with a

         published news story that law enforcement officers were taking threats to West Town

         Mall seriously: "ok bet lo!. Fuck 12 they ain stopping shit haha I done got felonies and

         y'all ain stop shit fuck outta here."

                 c.      BROWN made two separate posts on his Snapchat Account containing

         images depicting maps of the interior of West Town Mall and another post which stated

         in part, "If we get at least 300 people we can raid the mall and everything in there .... "

          11.    Using his Snapchat Account, BROWN also provided instructions to others as well

  as updates on his own preparations for the riot.

                 a.      For example, in one post BROWN instructed, "be there by 10:30, lace

         your shoes, wear masks and gloves. Bring hammers bricks whatever you want." This

         post also depicted the legs and feet of an individual [believed to be BROWN] standing in

         a bedroom.




  3
   This quote and those that follow include a number of grammar and punctuation errors
  originally made by BROWN who is quoted without the use of"sic."
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                 b.      In another post, BROWN stated, "clique up before all y'all get active so

         we all show up at once fuck the waiting a hour on slow pokes clear your agenda if you

          comin. 10:30." This post depicted the legs and feet of an individual [believed to be

         BROWN] who appears to be sitting inside the passenger seat of a motor vehicle.

                 c.      In a post that purportedly depicted BROWN's arrival at the

          aforementioned Target store, BROWN stated, "Target beside the mall." This post

          contained a photograph of the legs and feet of an individual [believed to be BROWN]

         standing next to a motor vehicle in what appears to be a paved parking lot.

          12.    Later on or about May 30, 2020, BROWN made the following post to his

  Snapchat Account, "went to target it was dead headed to downtown."

          13.    In the early morning on May 31, 2020, at approximately 1:20 am, Knoxville

  Police Department ("KPD") Officers responded to a civil disorder in the Market Square area in

  downtown Knoxville, Tennessee. Market Square is a pedestrian mall that contains offices,

  several retail shops, restaurants, and entertainment venues. Some participants in the civil

  disorder vandalized the offices, retail shops, and restaurants in Market Square, resulting in the

  damage of property.

          14.     According to a police report, KPD Officers observed BROWN tell a group of

  approximately 80 individuals to stay together when the riot begins. KPD Officers issued several

  warnings for the crowd to disperse.

          15.    Approximately an hour later, KPD Officers observed BROWN return to Market

  Square and begin vandalizing flower pots in front of various retail locations throughout Market

  Square. KPD Officers followed BROWN to the comer of Gay Street and Union Avenue. While

  at that location, KPD Officers observed BROWN pick up a trash can lid filled with an unknown



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  liquid and strike another KPD Officer in the head. The KPD Officer was sitting in a marked

  police vehicle.

          16.       BROWN then attempted to flee the area but was ultimately arrested by KPD

  Officers and charged with state crimes of assault, disorderly conduct, evading arrest, resisting

  arrest, and inciting to riot.

                                             CONCLUSION

          17.       Based on the foregoing, I respectfully submit that there is probable cause to

  believe that, within the Eastern District of Tennessee, BROWN has violated Title 18, United

  States Code, Sections 2101 (Riots) and 231 (a)(3) (Civil Disorder).

                                                          Respectfully submitted,



                                                          Mo lie G. Treadway
                                                          Special Agent
                                                          Federal Bureau of Investigation

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          Subscribed and sworn to before me on June 4, 2020:                                                         \       ..:
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